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                                                January 17, 2024


Via ECF
Honorable Jessica G.L. Clarke
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:     Doe v Combs, et. al. (Pierre)
                Docket Number: 1:23-CV-10628 (JGLC)

Dear Judge Clarke:

      I submit this letter, as counsel for Harve Pierre, to respectfully join in
the arguments raised in the sealed Memorandum of Law1 filed by counsel
for Defendant, Sean Combs (and the related corporate defendants).

     For the reasons set forth in the Memorandum of Law, this court
should deny the Plaintiff’s application to proceed anonymously as “Jane
Doe” under Rule 10(a) of the Fed. R. Civ. P.




1 See Sealed Memorandum of Law in Opposition to Plaintiff’s Motion to Proceed Anonymously filed on

January 17, 2024.
     Thank you.



                            Respectfully submitted,

                                  Scott E. Leemon
                            Scott Leemon
                            Counsel for Defendant, Harve Pierre

cc: All counsel (via ECF)
